                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA



In re:                                               Case No. 16-1516-JCO-11

JAMES H. ORSO, JR.

         Debtor(s).



                      MOTION TO COMPEL DEBTOR’S ATTORNEY
                       TO SUBMIT ORDER OF CONFIRMATION


         Comes now, Mark S. Zimlich, United States Bankruptcy Administrator for the Southern

District of Alabama, and files this Motion to Compel Debtor’s Attorney to Submit Order of

Confirmation.

         As grounds, the Bankruptcy Administrator states that the debtor’s Plan of Reorganization

was confirmed on December 10, 2019, but the Confirmation Order, which was due to be

submitted by debtor’s counsel, has not been entered by the court.

         Based on the foregoing, the Bankruptcy Administrator moves the court to compel

debtor’s counsel to submit the Confirmation Order without further delay.

         Dated: January 23, 2020


                                                     /s/Mark S. Zimlich
                                                     Bankruptcy Administrator
                                                     155 St. Joseph Street, Room 205
                                                     Mobile, Alabama 36602
                                                     (251)690-2058
                                                     mark_zimlich@alsba.uscourts.gov




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                                  CERTIFICATE OF SERVICE

        I certify that I have this date served a true and correct copy of this pleading electronically,
or by placing it in the United States Mail, postage prepaid, and properly addressed to the
following parties in interest:

James H. Orso, Jr.
P.O. Box 345
Citronelle, AL 36522-0345

Michael J. Harbin
P.O. Box 851372
Mobile, AL 36685


Dated: January 23, 2020                                        /s/ Mark S. Zimlich




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